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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

JASON DELACERDA, #999609,                        §
                                                 §
               Petitioner,                       §
                                                 §
v.                                               §           CIVIL ACTION NO. 1:22-cv-280
                                                 §
DIRECTOR, TDCJ-CID,                              §                   DEATH PENALTY
                                                 §
               Respondent.                       §

                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

       Petitioner Jason Delacerda, through state habeas counsel, filed a motion (Docket No. 1)

requesting the appointment of qualified counsel to represent him in a 28 U.S.C. § 2254 federal

habeas challenge to his capital murder conviction and sentence of death. As a result, the above

named and numbered federal habeas corpus proceeding was opened.

       The above-styled action was referred to the undersigned magistrate judge pursuant to 28

U.S.C. § 636 and the Local Rules for the Assignment of Duties to the United States Magistrate

Judge for findings of fact, conclusions of law, and recommendations for the disposition of the case.

                                            Background

       In February 2018, a Hardin County, Texas, jury convicted Jason Delacerda of capital

murder, i.e., intentionally causing the death of a four-year-old child, in Cause No. 21,284. TEX.

PENAL CODE § 19.03(a)(8). Based on the jury’s answers to the Texas capital sentencing special

issues, the trial court imposed a sentence of death.

       The Texas Court of Criminal Appeals (“TCCA”) affirmed Delacerda’s conviction and

sentence on direct appeal. Delacerda v. State, AP-77,078, 2021 WL 2674501 (Tex. Crim. App.
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June 30, 2021). The TCCA’s docket reflects that Delacerda timely filed a motion for rehearing,

which was denied on January 12, 2022.

        On April 19, 2022, he filed an application for petition for writ of certiorari with the U.S.

Supreme Court challenging the denial of his direct appeal. Jason Delacerda v. Texas, No. 21-7646.

The Supreme Court’s docket shows that initial briefing on the application has been accepted and

the briefing was distributed for conference on July 7, 2022. His application is set for conference

on September 28, 2022. There is no final order from the Supreme Court on Delacerda’s application

for petition for writ of certiorari at this time.

        After the TCCA’s affirmance of Delacerda’s sentence and conviction on direct appeal but

before the resolution of his motion for rehearing, he filed his first application for state writ of

habeas corpus relief on October 15, 2021. Ex parte Delacerda, WR-88,283-01. The TCCA

subsequently denied Delacerda’s application for state habeas corpus relief on June 22, 2022. Ex

parte Delacerda, WR-88,283-01, 2022 WL 2251720 (Tex. Crim. App. June 22, 2022). The

TCCA’s docket currently reflects a July 11, 2022, notation indicating that there is a suggestion to

reconsider the application for state writ of habeas corpus on the court’s own motion. It is unclear

whether this notation reflects a pending motion for rehearing filed by Delacerda or whether the

TCCA is considering withdrawing its written opinion sua sponte. See Ex parte Johnson, 12 S.W.3d

472, 472 (Tex. Crim. App. 2000) (explaining that the TCCA lacks jurisdiction over a state writ

application until the direct appeal is final).

                                                    Discussion

        A conviction and sentence are not final for the purposes of the Antiterrorism and Effective

Death Penalty Act (“AEDPA”) until “the conclusion of direct review or the expiration of the time

for seeking such review.” See Burton v. Stewart, 549 U.S. 147, 156-57 (2007). Generally, the
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AEDPA limitations period begins to run from the date on which a petitioner’s state court

conviction becomes “final,” either at the conclusion of direct review or the expiration of the time

for seeking such review. 28 U.S.C. § 2244(d)(1)(A). Thus, for purposes of determining the

applicability of AEDPA as codified in Section 2254, finality of a state criminal proceeding occurs

when both the conviction and sentence are final by the conclusion of direct review or by the

expiration of time for seeking such review. Butler v. Cain, 533 F.3d 314, 317 (5th Cir. 2008) (“[A]

conviction becomes final when the time for seeking further direct review in the state court

expires.”) (quoting Roberts v. Cockrell, 319 F.3d 690, 694 (5th Cir. 2003).

       Here, Delacerda has challenged his conviction and sentence on direct review to the United

States Supreme Court. That direct review is still pending at the Court. See Jason Delacerda v.

Texas, No. 21-7646. The Court has explained that “direct review” has long included its own review

on direct appeal. Lawrence v. Florida, 549 U.S. 327, 333 (2007) (citing Clay v United States, 537

U.S. 522, 527-528 (2003)). The Court further notes in Lawrence that “[t]he Courts of Appeals have

uniformly interpreted ‘direct review’ in § 2244(d)(1)(A) to encompass review of a state conviction

by this Court.” Id., citing Clay, at 528, n.3 (collecting cases). See also, Gonzalez v. Thaler, 565

U.S. 134, 150–51 (2012) (making clear that “the judgment becomes final at the ‘conclusion of the

direct review’—when this Court affirms a conviction on the merits or denies a petition for

certiorari.”). Accordingly, Delacerda’s direct review challenge to his conviction and sentence

remains pending and the direct review of his conviction and sentence are not final.

       Without finality, a Section 2254 petition is premature and not yet subject to federal habeas

review. 28 U.S.C. § 2244(d)(1)(A). Under the applicable federal habeas corpus statutes, “[a]n

application for a writ of habeas corpus on behalf of a person in custody pursuant to the judgment

of a State court shall not be granted unless it appears that ... the applicant has exhausted the
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remedies available in the courts of the State.” 28 U.S.C. § 2254(b)(1)(A). Thus, a petitioner “must

exhaust all available state remedies before he may obtain federal habeas corpus relief.” Sones v.

Hargett, 61 F.3d 410, 414 (5th Cir. 1995). The exhaustion requirement “is not jurisdictional but

reflects a policy of federal-state comity designed to give the State an initial opportunity to pass

upon and correct alleged violations of its prisoners’ federal rights.” Moore v. Quarterman, 454

F.3d 484, 490-91 (5th Cir. 2006) (quoting Anderson v. Johnson, 338 F.3d 382, 386 (5th Cir.

2003) (internal citations and quotations omitted)). Exceptions exist only where there is an absence

of available State corrective process or circumstances exist that render such process ineffective to

protect the rights of the applicant. See 28 U.S.C. § 2254(b)(1)(B).

        Delacerda’s Section 2254 federal habeas filing is premature and should be dismissed

without prejudice to his ability to file again when his state criminal judgment is final, and he has

exhausted all available avenues of review in the state courts.

                                         Certificate of Appealability

        To the extent a certificate of appealability is required to appeal from this order, “[a] state

prisoner whose petition for a writ of habeas corpus is denied by a federal district court does not

enjoy an absolute right to appeal.” Buck v. Davis, 137 S. Ct. 759, 773 (2017). Instead, under 28

U.S.C. § 2253(c)(1), he must first obtain a certificate of appealability (“COA”) from a circuit

justice or judge. Id. Although Petitioner has not yet filed a notice of appeal, the court may address

whether he would be entitled to a certificate of appealability. See Alexander v. Johnson, 211 F.3d

895, 898 (5th Cir. 2000) (A district court may sua sponte rule on a certificate of appealability

because “the district court that denies a petitioner relief is in the best position to determine whether

the petitioner has made a substantial showing of a denial of a constitutional right on the issues


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before the court. Further briefing and argument on the very issues the court has just ruled on would

be repetitious.”).

        A certificate of appealability may issue only if a petitioner has made a substantial showing

of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2). To make a substantial showing, the

petitioner need only show that “jurists of reason could disagree with the district court’s resolution

of his constitutional claims or that jurists could conclude the issues presented are adequate to

deserve encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003). The

Supreme Court recently emphasized that the COA inquiry “is not coextensive with merits analysis”

and “should be decided without ‘full consideration of the factual or legal bases adduced in support

of the claims.’” Buck, 137 S. Ct. at 773 (quoting Miller-El, 537 U.S. at 336). Moreover, “[w]hen

the district court denied relief on procedural grounds, the petitioner seeking a COA must further

show that ‘jurists of reason would find it debatable whether the district court was correct in its

procedural ruling.’” Rhoades v. Davis, 852 F.3d 422, 427 (5th Cir. 2017) (quoting Gonzalez v.

Thaler, 565 U.S. 134, 140-41 (2012)).

        In this case, it is respectfully recommended that reasonable jurists could not debate the

denial of Petitioner’s § 2254 petition on procedural grounds, nor find that the issues presented are

adequate to deserve encouragement to proceed. Miller-El v. Cockrell, 537 U.S. 322, 327 (2003)

(citing Slack, 529 U.S. at 484). A certificate of appealability should be denied.

                                         Recommendation

        This action should be dismissed without prejudice as premature for failure to comply with

28 U.S.C. § 2244(d)(1)(A). The Clerk of Court should be directed to return Delacerda’s $5 filing

fee.


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                                            Objections

       Within fourteen days after being served with a copy of the magistrate judge’s report, any

party may serve and file written objections to the findings of facts, conclusions of law, and

recommendations of the magistrate judge. 28 U.S.C. § 636 (b)(1)(C).

       Failure to file written objections to the proposed findings of facts, conclusions of law, and

recommendations contained within this report within fourteen days after service shall bar an

aggrieved party from the entitlement of de novo review by the district court of the proposed

findings, conclusions, and recommendations and from appellate review of factual findings and

legal conclusions accepted by the district court except on grounds of plain error. Douglass v.

United Servs. Auto. Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1);

FED. R. CIV. P. 72.



        SIGNED this 26th day of July, 2022.




                                                     _________________________
                                                     Zack Hawthorn
                                                     United States Magistrate Judge




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